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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JEREMY BAILEY,                  :
                      Plaintiff :                No. 1:20-CV-1836
                                :
               v.               :                Judge Kane
                                :
LIEUTENANT YODER,               :                Electronically Filed Document
SERGEANT R. BATIUK, C.O.        :
DERR and C.O. ANTHONY,          :                Complaint Filed 10/07/2020
                   Defendants :

        DEFENDANTS’ BRIEF IN SUPPORT OF THEIR MOTION
        FOR THE SCHEDULING OF AN EXHAUSTION HEARING
      Defendants, through counsel, hereby file this Brief in Support of their

Motion for the Scheduling of an Exhaustion Hearing in the above-captioned matter

pursuant to Local Rule 7.5.

                    RELEVANT PROCEDURAL HISTORY

      Plaintiff filed his operative Amended Complaint on October 22, 2021,

concerning events arising from his incarceration. (Doc. 56.) Plaintiff was released

from incarceration on November 9, 2021. (Doc. 62.)

      Defendants filed their Answer and Affirmative Defenses to the Amended

Complaint on December 27, 2021. (Doc. 69.) In so doing, Defendants preserved

the affirmative defense of failure to exhaust administrative remedies. (Id. at

Affirmative Defense ¶4.)
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                              ISSUES PRESENTED

         Whether this Court should schedule a hearing to resolve the issue of the

             exhaustion of administrative remedies prior to scheduling trial?

                              Suggested Answer to All: Yes.

                                  ARGUMENTS

      Under the Prisoner Litigation Reform Act, as an incarcerated individual,

Plaintiff was required to exhaust his administrative remedies prior to filing a

federal suit. See 42 U.S.C. § 1997e(a). Furthermore, Plaintiff’s Amended

Complaint was filed prior to his release from incarceration, Plaintiff was required

to comply with the PLRA exhaustion requirement. See id.

      Defendants preserved the affirmative defense of failure to exhaust

administrative remedies within their Answer and Affirmative Defenses. (Doc. 69 at

Affirmative Defense ¶4.) In order to resolve the issue of whether Plaintiff

exhausted his administrative remedies, Defendants respectfully request that this

Court schedule an exhaustion hearing prior to the scheduling of trial in this matter.

                                  CONCLUSION

      Defendants respectfully requests that this Court schedule an exhaustion

hearing on the unresolved issue of whether Plaintiff failed to exhaust his

administrative remedies. Alternatively, Defendants request the scheduling of a

teleconference with the Court to select a date for the exhaustion hearing.



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                                         Respectfully submitted,


                                         MICHELLE A. HENRY
                                         Acting Attorney General

                                  By:    s/ Mary Katherine Yarish
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Date: February 2, 2023                   Counsel for Defendants




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                   Defendants :

                       CERTIFICATE OF SERVICE

      I, Mary Katherine Yarish, Deputy Attorney General for the Commonwealth

of Pennsylvania, Office of Attorney General, hereby certify that on February 3,

2023, I caused to be served a true and correct copy of the foregoing document

titled Defendants’ Motion for the Scheduling of an Exhaustion Hearing to the

following:

VIA U.S. MAIL
Jeremy Bailey (#104262)
Dauphin County Prison
501 Mall Road
Harrisburg, PA 17111
Pro Se Plaintiff



                                           s/ Mary Katherine Yarish
                                          MARY KATHERINE YARISH
                                          Deputy Attorney General
